       Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 1 of 27




                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

----------------------------------------------------------------)(
JAMAL J. KIF AFI, individually and on behalf of all )
others similarly situated,                          )
                                                    ) CONFIDENTIAL-
                                         Plaintiff,) FILED UNDER SEAL
                       V.                                       )
                                                             ) Case No.: 1:98CV01517 (CKK)
HILTON HOTELS RETIREMENT PLAN,                               )
HILTON HOTELS CORPORATION, JAMES M.                          ) Hon. Colleen Kollar-Kotelly
ANDERSON, MATTHEW J. HART, BARRON                            )
HILTON, DIETER HUCKESTEIN, and SAM D.                        )
YOUNG, JR.,                                                  )
                                                             )
                                                  Defendants.)
                                                             )
----------------------------------------------------------------)(

           MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
            DEFENDANTS' MOTION FOR A STAY PENDING APPEAL AND
                   REQUEST FOR EXPEDITED TREATMENT




                                                      Thomas C. Rice (admitted pro hac vice)
                                                      Jonathan K. Youngwood (admitted pro hac vice)
                                                      SIMPSON THACHER & BARTLETT LLP
                                                      425 LeJ{ington A venue
                                                      New York, NY 10017
                                                      (212) 455-2000

                                                      Andrew M. Lacy (D.C. Bar #496644)
                                                      SIMPSON THACHER & BARTLETT LLP
                                                      1155 F St., N.W.
                                                      Washington, D.C. 20004
                                                      (202) 636-5500
                                                      (202) 636-5502

 Attorneys for Defendants Hilton Hotels Retirement Plan, Hilton Hotels Corporation, James
  M. Anderson, Matthew J. Hart, Barron Hilton, Dieter Huckestein, and Sam D. Young, Jr.
       Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 2 of 27




                                                 TABLE OF CONTENTS



PRELIMINARY STATEMENT ................................................................................................. 1

BACKGROUND ........................................................................................................................ 3

ARGUMENT .............................................................................................................................. 5

          A.         The Court Should Grant a Stay Pending Appeal Under Fed. R. Civ. P. 62(c)
                     Without the Posting of a Bond ............................................................................. 6

                     1.        Defendants Have a Substantial Likelihood of Success on Appeal... ........... 7

                     2.        Absent the Requested Stay, Defendants May Be Irreparably Injured ....... 11

                     3.        The Requested Stay Would Not Impose Irreparable Harm On Plaintiffs .14

                     4.        The Public Interest Favors Imposition of the Stay Requested by
                               Defendants ............................................................................................. 15

                     5.        The Stay Should Not Be Conditioned on the Posting of a Bond .............. 16

          B.        Alternatively, the Court Should Issue a Stay Pursuant to Fed. R. Civ. P. 62(d) ... 18

CONCLUSION ......................................................................................................................... 21
       Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 3 of 27




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)



Air Line Pilots Ass'n v. E. Air Lines, Inc., Nos. 88-7201, 88-7204, 1988 WL 148641 (D.C. Cir.
       Sept. 2, 1988) ................................................................................................................ 18

Am. Manufs. Ins. Co. v. Am. Broad-Paramount Theatres, 87 S. Ct. 1 (1966) ............................ 19

Amara v. Cigna Corp., 559 F. Supp. 2d 192 (D. Conn. 2008), rev'd on other grounds, 131 S. Ct.
      1866 (2011) ..................................................................................................................... 7

Athridge v. Iglesias, 464 F. Supp. 2d 19 (D.D.C. 2006) ............................................................. 19

Athridge v. Rivas, 236 F.R.D. 6 (D.D.C. 2006) .......................................................................... 19

Bray v. Fort Dearborn Life Ins. Co., Civil Action No. 3:06-CV-0560-B ECF, 2008 WL 1820594
        (N.D. Tex. Apr. 23, 2008) .............................................................................................. 16

Clarke v. Office of Fed. Housing Enter. Oversight, 355 F. Supp. 2d 56 (D.D.C. 2004) .............. 12

Combustion Sys. Servs., Inc. v. Schuykill Energy Resources, 153 F.R.D. 73 (E.D. Pa. 1994) ..... 14

Continental Cas. Co. v. First Fin'! Emp. Leasing, 2010 WL 5421337 (M.D. Fl. Dec. 27, 2010)20

Cross v. Fleet Reserve Ass'n Pension Plan, Civil No. WDQ-05-0001, 2007 WL 7143977 (D.
       Md. Feb. 27, 2007) ...................................................................................... 12, 15, 19,20

Cuomo v. US. Nuclear Regulatory Comm'n, 772 F.2d 972 (D.C. Cir. 1985) ............................... 6

Curtiss-Wright Corp. v. Schoonejongen, 514 U.S. 73 (1995) ....................................................... 8

Davenport v. Harry N Abrams, Inc., 249 F.3d 130 (2d Cir. 2001) ............................................. 10

Durand v. Hanover Ins. Grp., Civil Action No. 3:07CV-130-JDM, 2011 WL 1302227 (W.D Ky.
      Mar. 31, 2011) ............................................................................................................... 10

Fed. Election Comm 'n v. NRA Political Victory Fund, Civ. A. No. 90-3090, 1992 WL 19111
       (D.D.C. Jan. 17, 1992) ............................................................................................. 14, 20

Fed. Prescription Serv., Inc. v. Am. Pharm. Ass'n, 636 F.2d 755 (D.C. Cir. 1980) ......... 17, 19,20

Feinerman v. Bernardi, 558 F. Supp. 2d 36 (D.D.C. 2008) ........................................................ 12

Frommertv. Conkright, 639 F. Supp. 2d 305 (W.D.N.Y. 2009) ........................................... 19, 20


                                                                   11
        Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 4 of 27




Gesualdi v. Laws Constr. Corp., 759 F. Supp. 2d 432 (S.D.N.Y. 2011) ..................................... 19

Hirt v. Equitable Ret. Plan for Emps., Managers, and Agents, 285 Fed. Appx. 802 (2d Cir. July
        9, 2008) ......................................................................................................................... 10

In re Citigroup Pension Plan ERISA Litig., 470 F. Supp. 2d 323 (S.D.N.Y. 2006) ....................... 8

Int'l Ass'n of Machinists and Aerospace Workers, AFL-CIO v. E. Air Lines, Inc., 847 F.2d 1014
        (2d Cir. 1998) ................................................................................................................ 16

Kifafi v. Hilton Hotels Ret. Plan, 736 F. Supp. 2d 64 (D.D.C. 2010) ........................................ 3, 9

Kifafi v. Hilton Hotels Ret. Plan., 189 F.R.D. 174 (D.D.C. 1999) ................................................ 3

Kifafi v. Hilton Hotels Ret. Plan., 228 F.R.D. 382 (D.D.C. 2005) ................................................ 3

Kifafi v. Hilton Hotels Ret. Plan., 616 F. Supp. 2d 7 (D.D.C. 2009) ............................. 3, 8, 10, 11

Knutson v. AG Processing, Inc., 302 F. Supp. 2d 1023 (N.D. Iowa 2004) .................................. 12

LaRouche v. Kezer, 20 F.3d 68 (2d Cir. 1994) ............................................................................. 7

Laurenzano v. Blue Cross & Blue Shield, Inc. Ret. Income Trust, 134 F. Supp. 2d 189 (D. Mass.
      2001) ............................................................................................................................. 10

Lonecke v. Citigroup Pension Plan, 584 F.3d 457 (2d Cir. 2009) ................................................ 8

McCammon v. United States, 584 F. Supp. 2d 193 (D.D.C. 2008) ......................................... 6, 18

Miller v. Fortis Benefits Ins. Co., 475 F.3d 516 (3d Cir. 2007) .................................................. 11

Mohammed v. Reno, 309 F. 3d 95 (2d Cir. 2002) ......................................................................... 6

Perles v. Kagy, No. Civ. A. 01-0105(AK), 2005 WL 3262905 (D.D.C. Aug. 29, 2005) ....... 19, 20

Pikas v. The Williams Cos., No. 08-CV101-GKF-PJC, 2011 WL 4606705 (N.D. Okla. Sept. 30,
        2011) ............................................................................................................................. 11

Real View v. 20-20 Techs., Inc., 2011 WL 3568022 (D. Mass. Aug. 12, 2011) .......................... 20

Sampson v. Murray, 415 U.S. 61 (1974) .................................................................................... 14

Simon Prop. Group, Inc. v. Taubman Ctrs., Inc., 262 F. Supp. 2d 794 (E.D. Mich. 2003) .......... 17

Smith v. Contini, 205 F .3d 597 (3d Cir. 2000) ............................................................................. 8

Thapa v. Gonzales, 460 F.3d 323 (2d Cir. 2006) .......................................................................... 7

The Cayuga Indian Nation ofNew Yorkv. Pataki, 188 F. Supp. 2d223 (N.D.N.Y. 2002) ......... 14

                                                                     iii
       Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 5 of 27




Thiry v. Carlson, 891 F. Supp. 563 (D. Kan. 1995) .................................................................... 18

Thomas v. City of Evanston, 636 F. Supp. 587 (N.D. Ill. 1986) .................................................. 14

Thompson v. Ret. P/anfor Emps. ofS.C. Johnson & Son, Inc., 651 F.3d 600 (7th Cir. 2011) ..... 11

United States. v. Philip Morris USA, Inc., 449 F. Supp. 988 (D.D.C. 2006) ................................. 6

Winnett v. Caterpillar, Inc., 609 F.3d 404 (6th Cir. 2010) .......................................................... 10


                                                       Other Authorities

29 u.s.c. § 1054(g) .................................................................................................................. 11

Fed. R. Civ. P. 62(c) ........................................................................................................... passim

Fed. R. Civ. P. 62(d) .......................................................................................................... passim

Treas. Reg.§ 1.411(b)-1(a) ......................................................................................................... 8

Treasury Regulations§§ 1.417(a)(3)-1(c) and (d) ...................................................................... 13




                                                                   iv
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 6 of 27




               Defendants Hilton Hotels Retirement Plan (the "Plan"), Hilton Worldwide, Inc.

(formerly Hilton Hotels Corporation), James M. Anderson, Matthew J. Hart, Barron Hilton,

Dieter Huckestein, and Sam D. Young, Jr. (collectively, "Defendants" or "Hilton"), by their

attorneys Simpson Thacher & Bartlett LLP, respectfully submit this memorandum oflaw and the

Declaration of Andrew M. Lacy, dated November 28, 2011 ("Lacy Decl.") in support of their

motion for a stay of its August 31, 2011 order (the "Order") pending Defendants' appeal to the

Circuit Court of Appeals for the District of Columbia (the "D.C. Circuit"). 1 Because the Order

requires Defendants to take certain actions by January 1, 2012, we respectfully request that the

Court set an expedited schedule for briefing of this motion.

                                PRELIMINARY STATEMENT

               Defendants' appeal of this Court's August 31, 2011 Order is currently pending

before the D.C. Circuit. The appeal will focus on the Court's rulings regarding backloading;

Defendants are not appealing the Court's vesting rulings. The Order requires Defendants to

amend the Plan and to provide participants and beneficiaries greater benefits and to award back

payments and increased benefits to class members "as soon as administratively feasible[.]"

Order at 7, 9. Defendants intend to implement the Court's rulings with respect to vesting

determinations, adding some approximately 711 individuals to the list of plan participants. The

Court has approved a modified version of the Plan amendment that Defendants drafted to effect

the backloading remedy, and Defendants have re-calculated benefits for all participants

(including those who are newly-vested by virtue of the Court's rulings). However, Hilton

respectfully requests a stay of those portions ofthe Court's Order that would otherwise require


       In its November 23, 2011 memorandum opinion, the Court stated that in order to achieve
       a stay of the Order, Defendants would need to file a formal motion for stay. Nov. 23,
       2011 Slip Op. at 5-6.
      Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 7 of 27




Hilton to adopt the Court's backloading remedy or to make new payments (back payments or

prospective benefits payments) to the new and previously vested participants pending the

determination of Hilton's appeal. 2

               A stay is needed to prevent substantial and irreparable harm to Hilton. First, if the

required amendment is adopted, it likely could not be undone without violating ERISA's anti-cut

back rule. Second, once the additional benefits arising from the required amendment are

dispensed to Plan participants or beneficiaries, they will be impossible or nearly impossible to

recover without great expense and hardship. Third, because Plaintiff has indicated he plans to

seek a common fund fee award that may reduce the amounts payable to the Plan participants, it is

not even possible at this time to calculate the amounts due to the class, including to the newly-

vested participants, in order to make any required payments or to notify them of the amount of

the retirement benefit in which they have become vested. Finally, prior to the Court's decision

on a common fund award, Hilton cannot fulfill its obligation to provide estimates of relative

values of payment options available to newly-vested participants who will choose the form in

which to receive their benefits. Accordingly, the limited stay sought by this motion is needed to

protect the interests of both Defendants and the Plaintiff Class pending appeal.

               There is clear authority for the stay. In particular, a discretionary stay may be

granted under Fed. R. Civ. P. 62(c). Alternatively, Defendants seek a stay as a matter of right

pursuant to Fed. R. Civ. P. 62(d). In addition, given Hilton's size, financial security, and

substantial presence in the District of Columbia and given the fact that payments cannot be made




2
       Hilton will, of course, continue to make scheduled payments to previously-vested
       participants under the existing terms of the Plan while the appeal is pending.

                                                 2
      Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 8 of 27




at this time because of the uncertainty created by the anticipated request for a common fund fee

award, the Court should issue a stay without requiring Hilton to post a bond.3

               Because the Plan Amendment is due to become effective January 1, 2012,

Defendants request that the Court set an expedited briefing schedule for this motion. Defendants

have filed this motion the first Court day following the Court's November 23, 2011 ruling in

which the Court rejected the provision in Defendants' proposed Amendment that would have

delayed the effective date of the Amendment until after resolution of the pending appeal. In

order to give the Court adequate time to consider the motion, Defendants respectfully request

that the Court set a response date for this motion of December 5, 2012 and a reply date of

December 8, 2012.

                                        BACKGROUND

               On June 17, 1998, Plaintiff filed this action alleging violations ofERISA in the

Plan. On May 11, 1999, the Court granted-in-part and denied-in-part Plaintiffs Motion for Class

Certification. See Kifafi v. Hilton Hotels Ret. Plan., 189 F.R.D. 174 (D.D.C. 1999). The Court

granted the motion as to a benefit accrual class, id at 177-78, but denied the motion as to a

"service-counting" class, which consisted of five subclasses. Jd at 179-80. Plaintiff

subsequently renewed his motion to certify a vesting claims class, and on March 30, 2005 the

Court certified four sub-classes in connection with the alleged vesting violations. Kifafi v. Hilton

Hotels Ret. Plan., 228 F .R.D. 382, 384 (D.D.C. 2005).

               On May 15, 2009, the Court granted-in-part Plaintiffs motion for summary

judgment, finding that Defendants had violated ERISA's anti-backloading provision and the


3
       In the alternative, and as discussed in greater detail below, should the Court require a
       bond, it should be no more than fifty percent of Hilton's anticipated first year funding
       obligation to the Plan due to the Order, which is estimated to be $37.9 million.


                                                 3
      Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 9 of 27




terms of the Plan's vesting provisions. See Kifafi v. Hilton Hotels Ret. Plan., 616 F. Supp. 2d 7,

28-29 (D.D.C. 2009). On September 7, 2010, the Court issued a memorandum opinion and order

on remedies. With regard to the benefit accrual class, the Court endorsed Defendants' proposed

remedy and ordered recalculation of benefits based on that formula. Kifafi v. Hilton Hotels Ret.

Plan, 736 F. Supp. 2d 64, 71-73 (D.D.C. 2010). With regard to the vesting subclasses, the Court

rejected a number of Plaintiffs proposed remedies, but disagreed with Defendants that no credit

could be awarded for union service unless an employee's record explicitly showed eligible union

service. Id. 75, 78-80, 82. The Court also left open a number of vesting issues, which were

briefed by the parties and argued at a hearing.

               On August 31, 20 II, the Court issued a "final, appealable Order" which required

Defendants to, inter alia, "amend the Plan to provide benefits" and "as soon as administratively

feasible, and by no later than January 1, 2012 ... award back payments and commence increased

benefits for all class members." Order at 7, 9, 11.

               On September 30, 2011, Defendants filed a notice of appeal to the Circuit Court

of Appeals for the District of Columbia. The principal issues raised by Defendants on appeal

are: (a) whether the Court erred in holding, based on a statement of "intent" to comply with the

133-1/3% rule within a Plan amendment, that any backloading remedy arising from this action

must comply with the 133-1/3% rule rather than one of the other anti-backloading rules set forth

within ERISA; (b) whether the Court erred in holding that the 1999 amendment to the Plan did

not bring the Plan into compliance with ERISA' s anti-backloading rules, effectively mooting

Plaintiffs backloading claim; (c) whether the Court erred in ordering a backloading remedy that

requires the Plan to comply with the 133-1/3% rule prior to 1994 or, alternatively, before 1987,

where the Plan amendment stating an "intent" to comply with that rule was not adopted until



                                                  4
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 10 of 27




1994 and was made expressly retroactive only to 198 7; and (d) whether the Court erred in

holding that Plaintiffs benefit accrual claims were not time-barred.

               On November 15, 2011, Defendants filed a status report regarding the mailing of

union service notice and claims forms to union service subclass members. See Dk:t #275. Within

that filing, Defendants reported that union service notice and claims forms had been sent to 2,563

individuals. !d. at 2. Responses are due 60 days after mailing.

               On November 23, 2011, the Court issued its decision and order with respect to

Defendants' proposed Plan amendment. The Court rejected many of Plaintiffs objections to the

Plan amendment and endorsed certain others. See Nov. 23, 2011 Slip Op. at 3-14. Among the

aspects of the proposed amendment rejected by the Court was a provision that would have

delayed the effective date of the amendment until after resolution of the current appeal. Id. at 5-

6. The modified Plan amendment approved by the Court does include a provision stating that,

prior to the effective date of the Plan amendment, it may be updated to reflect modifications to

the calculations of amendment-based benefit payments that will result from any award of

compensation to Plaintiff or his counsel. See Nov. 23, 2011 Order at 1.

                                          ARGUMENT

               To the extent that the Order provides for injunctive relief, the Court has the

discretion to order a stay to prevent irreparable harm that would otherwise be suffered by

Defendants during the pendency of their appeal. See Fed. R. Civ. P. 62(c) (providing that the

court has discretion to stay an injunction pending appeal); Order at 7 (requiring Defendants to

amend the Plan), 7 (requiring Defendants to send notice and claims form to certain recipients), 8

(requiring Defendants to provide Plaintiffs counsel with revised calculations of benefits and

vesting service). To the extent that the Order provides for any other form of relief, Defendants



                                                 5
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 11 of 27




are entitled to a stay as of right upon the posting of an adequate supersedeas bond. See Fed. R.

Civ. P. 62(d) ("If an appeal is taken, the appellant may obtain a stay by supersedeas bond"). In

either case, for the reasons set forth below, the Court should issue a stay of the portion of its

Order requiring Hilton to adopt the Court's backloading remedy and make back payments or

prospective benefits payments to the new and previously-vested participants pending the

determination ofHilton's appeal.

           A.   The Court Should Grant a Stay Pending Appeal Under Fed. R. Civ. P. 62(c)
                Without the Posting of a Bond

                The determination of a motion for discretionary stay pending appeal is based on

the application offour factors: (1) the movant's likelihood of success on the merits ofthe appeal,

(2) the likelihood of irreparable harm to the movant absent a stay; (3) the likelihood of

irreparable harm to other parties if a stay is imposed; and (4) the public interest in granting a

stay. See, e.g., McCammon v. United States, 584 F. Supp. 2d 193, 197 (D.D.C. 2008) (Kollar-

Kotelly, J.) (citing United States. v. Philip Morris USA, Inc., 449 F. Supp. 988, 990 (D.D.C.

2006)). "A party does not necessarily have to make a strong showing with respect to the first

factor (likelihood of success on the merits) if a strong showing is made as to the second factor

(likelihood of irreparable harm)." McCammon, 584 F. Supp. 2d at 197 (citing Cuomo v. US.

Nuclear Regulatory Comm 'n, 772 F.2d 972, 973 (D.C. Cir. 1985)); see also Mohammed v. Reno,

309 F.3d 95, 101 (2d Cir. 2002) ("The probability of success that must be demonstrated is

inversely proportional to the amount of irreparable injury [the movant] will suffer absent the

stay.").

                As discussed in further detail below, Defendants submit that they have a

substantial likelihood of success on their appeal. Further, if the Plan amendment and resultant

payment of increased benefits required by the Order are not stayed, Defendants would be subject


                                                  6
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 12 of 27




to substantial irreparable harm. By contrast, imposition of the requested stay would not cause

any irreparable harm to the Plaintiff Class, and, in fact, might benefit the class and class counsel

because it would ensure that the payments made under the amendment accurately reflect any

deductions required by class counsel's anticipated request for fees. Accordingly, the Court

should exercise its discretion to stay the Order pending appeal to the extent that the Order (1)

requires the amendment to become effective January 1, 2012, and (2) requires Hilton to

distribute increased benefits to the new and previously-vested participants in the Plan. See, e.g.,

Thapa v. Gonzales, 460 F.3d 323, 335 (2d Cir. 2006) (a stay is proper where the movant can

"demonstrate[ ] some possibility of success and the balance of hardships tips decidedly in his

favor"); Amara v. Cigna Corp., 559 F. Supp. 2d 192, 195 (D. Conn. 2008) (sua sponte staying its

judgment pending appeal where the "stakes [were] far too high-for both [the employer] and its

employees-to implement the Court's judgment in the face of such substantial uncertainty"),

rev'd on other grounds, Cigna Corp. v. Amara, 131 S. Ct. 1866 (2011).

               1.      Defendants Have a Substantial Likelihood of Success on Appeal

                To obtain a stay of the district court's decision pending appeal "the movant need

not always show a probability of success on the merits; instead, the movant need only present a

substantial case on the merits when a serious legal question is involved and show that the balance

of the equities weighs heavily in favor of granting the stay." LaRouche v. Kezer, 20 F.3d 68, 72

(2d Cir. 1994) (citation and internal quotation marks omitted). Here, there are four important

questions of law that the appellate court will review de novo, and on which Defendants have

individually and collectively a reasonable likelihood of success.

               First, the Court's determination that the backloading remedy must comply with

the 133-1/3% rule was not based on any direct precedent, and, Defendants respectfully submit,

is in tension with persuasive legal authority. At summary judgment, Defendants argued that the

                                                 7
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 13 of 27




1999 Plan amendment cured any alleged violations ofthe anti-backloading provisions through

compliance with the fractional rule, thereby mooting Plaintiffs benefit accrual claim. The Court

disagreed, holding that the 1994 amendment's stated "intent" to comply with the 133-1/3% rule 4

created an obligation for Hilton to comply with that particular anti-backloading rule. This ruling

was based on Curtiss-Wright Corp. v. Schoonejongen, 514 U.S. 73 (1995) and Smith v. Contini,

205 F.3d 597 (3d Cir. 2000). However, both of these cases involve statements of intent with

respect to amendment procedures rather than backloading compliance. Defendants submit that

they are thus distinguishable. Indeed, other authority supports the proposition that a plan may

be tested for backloading compliance under more than one anti-backloading rule. See; Treas.

Reg.§ 1.411(b)-1(a) (2011) (stating that "[a] defined benefit plan may provide that accrued

benefits for participants are determined under more than one plan formula" so long as the plan is

"not so structured as to evade the accrued benefit requirements"); Lonecke v. Citigroup Pension

Plan, 584 F.3d 457,469 (2d Cir. 2009) (discussing Revenue Ruling 2008-7, which applied the

133-1/3% test and the fractional rule to determine whether plan was improperly backloadedf

Thus, Defendants respectfully submit there is a reasonable likelihood that the D.C. Circuit will

determine that Defendants were entitled to craft a backloading remedy that complies with an

anti-backloading rule other than the 133-113% rule.


4
       Article 5.4 ofthe Plan amendment enacted December 29, 1994 provided: "The method of
       computing a Participant's accrued benefit under the provisions of Article IV is intended
       to satisfy the requirements of the 133-1/3 rule provided in Section 411(b)(1)(B) of the
       Code." See Hilton Hotels Retirement Plan (As Amended and Restated Effective January
       1, 1987) (attached as Exhibit B to Youngwood Decl.) at 67.
5
       The Second Circuit's Lonecke decision reversed the Southern District ofNew York's
       decision in In re Citigroup Pension Plan ERISA Litig., 470 F. Supp. 2d 323 (S.D.N.Y.
       2006), upon which this Court placed heavy emphasis within the portion of its summary
       judgment decision that discussed the issues raised by Defendants on appeal. Kifafi, 616
       F. Supp. 2d at 25-26.

                                                8
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 14 of 27




               Second, since the Court's rejection of Defendants' argument that the 1999 Plan

amendment mooted Plaintiffs benefit accrual claims hinged upon what Defendants submit was

an erroneous holding regarding the effect of Hilton's statement of intent to comply with the 133

1/3% rule, the D.C. Circuit is also reasonably likely to reverse the Court's ruling as to the effect

of the 1999 Plan amendment. The IRS found in its 2002 Technical Advice Memorandum that

the 1999 amendment's post-amendment formula complies with the fractional rule. See IRS

Technical Advice Memorandum regarding 1999 Plan amendment (attached as Exhibit A to the

Youngwood Decl.) at 8, 11. As such, by virtue of that amendment, Hilton provided Plan

participants with a Plan-and a benefit accrual formula-that complied with the fractional rule

and was not backloaded.

               Third, even assuming that the 1994 amendment's stated "intent" to comply with

the 133-1/3% rule required the Plan to in fact do so (rather than complying with another test), the

Plan's obligation to do so is temporally limited. Prior to the 1994 amendment, there was no

stated intent for the Plan to comply with any particular anti-backloading rule. Indeed, the Court

acknowledged that "Plan participants could not have relied on the Plan's purported compliance

with the 133 1/3% rule until the 1994 amendment was signed." Kifafi v. Hilton Hotels Ret. Plan,

736 F. Supp. 2d at 73. Moreover, the provision within the 1994 amendment that articulated the

Plan's "intent" to comply with the 133-1/3% rule was expressly adopted retroactive to January 1,

1987. See 1994 Amendment at 2 ("[T]he Plan is hereby amended and restated as set forth herein

effective as of January 1, 1987 except where otherwise indicated"). Because the amendment was

not adopted until1994 and was retroactive only to January 1, 1987, the D.C. Circuit may

reasonably disagree with the Court's finding that the Plan obligated itself to comply with the

133-1/3% rule before 1994 or, alternatively, before 1987.



                                                 9
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 15 of 27




                Finally, Defendants are reasonably likely to succeed on their argument that the

Plaintiff Class's benefit accrual claims are untimely in whole or in part. As the Court stated in

the summary judgment decision, ERISA claims generally accrue "when 'there has been a

repudiation by the fiduciary which is clear and made known to the beneficiaries."' Kifafi, 616 F.

Supp. 2d at 36 (quoting Davenport v. Harry N Abrams, Inc., 249 F.3d 130, 134 (2d Cir. 2001)).

Notwithstanding this finding, the Court rejected Defendants' timeliness argument, holding that

there was no evidence in the record that would have constituted the requisite "clear repudiation"

of benefits necessary to start the limitations clock, and that "[i]t is also apparent that the mere

receipt of benefits could not have conveyed such information." !d. In so ruling, the Court did

not address a 1977 Summary Plan Description within the record that described the Plan's Social

Security offset in sufficient detail to alert Plaintiff and all other Plan participants to the alleged

backloading problem caused by that offset. See Pl.'s SJ Ex. 12 at KIF02042 (explaining that

"[n]ormal retirement benefits are 1 112% of your Final Average Salary, multiplied by your years

of Service and minus 50% ofyour Primary Social Security benefit at the time you retire," and

providing a hypothetical example) (emphasis added). 6 Moreover, the Court's determination that

receipt of backloaded benefits did not constitute a "clear repudiation" was partially based, in


6
       It is well-established that a summary plan description (an "SPD") can constitute the
       "clear repudiation" necessary for a claim to accrue and the limitations period to start
       running. See, e.g., Winnettv. Caterpillar, Inc., 609 F.3d 404,410 (6th Cir. 2010) ("All of
       these notices of the various [allegedly unlawful] 1998 changes [to the Plan]-especially
       the notice provided by the SPD ... provided the 'clear repudiation' necessary for the
       subclass's claims to accrue"); Hirt v. Equitable Ret. Plan for Emps., Managers, and
       Agents, 285 Fed. Appx. 802, at *2 (2d Cir. July 9, 2008) ("To the extent that a plan
       participant ... considered himself entitled to benefits other than those disclosed in the
       SPD, the SPD 'unequivocally repudiated' that understanding"); Durand v. Hanover Ins.
       Grp., Civil Action No. 3:07CV-130-JDM, 2011 WL 1302227, at *6 (W.D Ky. Mar. 31,
       2011) ("The court concludes the 1997 SPD clearly repudiated the interest crediting floor
       claim by stating that the interest credits were 'Investment Experience'-dependent on the
       gains and losses in the market [and therefore calculated without a floor]").

                                                   10
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 16 of 27




Defendants' view, on a misreading ofDefendants' leading case on the issue. 7 Indeed,

subsequent case law demonstrates that the Plaintiff Class's benefit accrual claims accrued upon

each class member's first receipt of the backloaded benefits. See, e.g., Thompson v. Ret. Plan for

Emps. ofS.C. Johnson & Son, Inc., 651 F .3d 600, 606 (7th Cir. 2011) ("We ... agree with the

district court that when the participants received their lump-sum distributions, this served as an

unequivocal repudiation of any entitlement to benefits beyond the account balance"); Miller v.

Fortis Benefits Ins. Co., 475 F.3d 516, 521 (3d Cir. 2007) (a claim will "ordinarily" accrue

"when [the beneficiary] first receives his miscalculated benefit award"); Pikas v. The Williams

Cos., No. 08-CV101-GKF-PJC, 2011 WL 4606705 (N.D. Okla. Sept. 30, 2011) (plaintiffs'

claims accrued when they received lump sum payments that did not include payments that were

alleged to have been improperly withheld).

               2.      Absent the Requested Stay, Defendants May Be Irreparably Injured

               Absent a stay, Defendants would be subject to the risk of irreparable harm in the

form of potential tax disqualification of the Plan and/or substantial unrecoverable monetary

outlays. The Order requires Defendants to amend the Plan so as to provide greater benefits to

Plan participants and beneficiaries. Order at 7, 9. If the required amendment is implemented

and Defendants subsequently prevail even in part on appeal, the amendment may not be able to

be undone-and the greater benefits could not be reduced to pre-amendment levels-without

7
       The Court held that Laurenzano v. Blue Cross & Blue Shield, Inc. Retirement Income
       Trust, 134 F. Supp. 2d 189 (D. Mass. 2001) is inapposite because there, the district court
       "did not determine when the plaintiffs' causes of action accrued because, even
       'assuming' they accrued when the plaintiffs received their benefits, the plaintiffs' claims
       were untimely." Kifafi, 616 F. Supp. 2d at 36 n.25 (emphasis in original). Defendants
       contend that this misinterprets the decision, which held that "each class member's cause
       of action accrued, at the earliest, when he received his lump sum distribution," and
       clarified the "at the earliest" caveat to mean that "for those class members who sought
       internal remedies, their causes of action did not accrue until they exhausted their internal
       remedies." I d. at 210-11.


                                                11
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 17 of 27




violating ERISA's anti-cutback rule. See 29 U.S.C. § 1054(g) ("The accrued benefit of a

participant under a plan may not be decreased by an amendment of the plan"); Cross v. Fleet

Reserve Ass'n Pension Plan, Civil No. WDQ-05-0001, 2007 WL 7143977, at *2 (D. Md. Feb.

27, 2007). As discussed in Cross, reduction ofPlan benefits to pre-amendment levels in

violation of the anti-cutback rule could cause the Internal Revenue Service to disqualify the Plan

and cause all benefits under the Plan to lose the tax-deferred status tax qualified plan benefits

enjoy and disallow the Defendant's tax deductions for the contributions made to the Plan's trust,

and "the Plan's resulting inability to meet all its obligations to its participants and beneficiaries

could be permanent." 2007 WL 7143977, at *2.

               Moreover, if Defendants achieved a ruling even partially in their favor on appeal,

they would not as a practical matter be able to recover the increased benefits paid to participants

and beneficiaries. Put simply, any attempt to recover benefits distributed to thousands of

individuals would be exceedingly unlikely to succeed, and would require Defendants to incur

significant administrative expense. Unrecoverable monetary loss constitutes irreparable harm for

purposes of a motion for stay under Fed. R. Civ. P. 62(c). Knutson v. AG Processing, Inc., 302

F. Supp. 2d 1023, 1037 (N.D. Iowa 2004) (noting in context of Rule 62(c) stay that "[g]enerally,

economic loss standing alone does not constitute irreparable harm, but the threat of

unrecoverable economic loss does amount to irreparable harm") (emphasis in original); see also

Feinerman v. Bernardi, 558 F. Supp. 2d 36, 51 (D.D.C. 2008) (noting in context of preliminary

injunction that "where the [party] in question cannot recover damages ... any loss of income

suffered by [that party] is irreparable per se"); Clarke v. Office of Fed. Housing Enter. Oversight,

355 F. Supp. 2d 56, 65-66 (D.D.C. 2004) (same).




                                                  12
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 18 of 27




                Finally, it is simply not possible for Hilton to implement the Plan amendment

prior to the Court's determination as to entitlement to, and amount of, attorney's fees, incentive

awards, or other such compensation to Plaintiff and his counsel. As the Court recognized in its

decision on the proposed Plan amendment, Plaintiff has indicated an intent to request attorney's

fees from a common fund. Nov. 23, 2011 Slip Op. at 4. By virtue of Plaintiffs request, the new

benefits under the amendment cannot be calculated until a final determination on the amount, if

any, of attorney's fees to be granted in the form of a common fund award.

                The Plan amendment appropriately contains a provision specifically addressing

the possibility that the Court will award such compensation. See Nov. 23, 2011 Order at 1. That

provision states, in relevant part, that,

                ... if such awards are from the common fund, such awards will
                proportionally reduce the benefits otherwise payable under [the
                amendment] .... [T]he terms of this Amendment will be updated
                prior to its execution to reflect the appropriate calculation of such
                reductions.

Jd. By its own terms, the Court's approved amendment cannot be implemented until the issue of

common fund attorney's fees and other such awards has been resolved and the benefits to be paid

under the Amendment are adjusted accordingly. 8

                A further complication arising from implementation of the Plan amendment prior

to the resolution of an appeal and a determination on attorney's fees is that, under the terms of

the Plan, Hilton must provide newly-vested participants who wish to start their benefit with a

choice of optional forms of payment (with respect to which participants must be given at least

thirty days to elect the form of payment) prior to commencement of payments. See 2007 Plan §

8
       Pursuant to the Order, Plaintiff must apply for incentive awards and attorney's fees no
       later than January 6, 2012. See Order at 11. Even after the parties have briefed the issue
       and the Court has issued its ruling, the issue might remain unsettled since it would be
       subject to appeal by, e.g., a member of the Plaintiff Class.


                                                  13
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 19 of 27




4.5(d). In order to facilitate the participants' decision, Hilton must provide estimates of the

relative values of the different payment forms available to each participant. See 2007 Plan§

4.5(c); see also Treasury Regulations §§ 1.417(a)(3)-1(c) and (d). Prior to a decision on a

common fund attorney's fee award, Hilton would be unable to provide such estimates. Thus,

absent the requested stay, Hilton would be in the untenable position of being required to

implement an amendment that simply cannot be implemented at this stage of the litigation in a

manner which complies with the terms of the Plan and the relevant Treasury Regulations.

                 3.       The Requested Stay Would Not Impose Irreparable Harm On Plaintiffs

                A stay of the portion ofthe Order requiring implementation of the Plan

amendment and payment of increased benefits would, at most, slightly delay the payment of any

increased benefits to which Plan participants or beneficiaries might be entitled as a result of this

case. No irreparable harm would result from such delay because Plan participants and

beneficiaries will ultimately be paid the full amount of increased benefits that they are owed, as

well as court-ordered interest on that amount. See Order at 10 (applying post-judgment interest

at the statutory rate).

                This Court has held that a requested stay would not harm non-movants for the

reason that "they [would] collect interest from the date of the judgment should they prevail on

appeal." Fed. Election Comm 'n v. NRA Political Victory Fund, Civ. A. No. 90-3090, 1992 WL

19111, at *1 (D.D.C. Jan. 17, 1992). Similarly, in Cayuga Indian Nation ofNew York v. Pataki,

the Northern District of New York stated that it "c[ould not] ignore the fact that there would be

no concomitant harm to the ... plaintiffs if it grant[ed] a stay because they would be entitled to

post-judgment interest." 188 F. Supp. 2d 223,253 (N.D.N.Y. 2002); see also Sampson v.

Murray, 415 U.S. 61, 90 (1974) ("[T]emporary loss of income, ultimately to be recovered, does

not usually constitute irreparable injury."); Combustion Sys. Servs., Inc. v. Schuylkill Energy

                                                 14
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 20 of 27




Resources, 153 F.R.D. 73, 74 (E.D. Pa. 1994) (finding that Rule 62(b) stay would not harm

defendants and noting that "Defendants will earn post judgment interest ... until the judgment is

paid"); Thomas v. City of Evanston, 636 F. Supp. 587, 590 (N.D. Ill. 1986) ("The harm to

plaintiffs from a stay ... will be reparable and is thus not substantial. They ... would recover

the loss in a lump sum with interest should they win the appeal."). Thus, because the Plaintiff

Class' stake in the judgment is protected by post-judgment interest applied by the Court, it would

suffer no harm from a stay.

               To the contrary, the Plaintiff Class-and its counsel-might benefit from the stay

sought by Defendants. Absent the stay, on January 1, 2012 Defendants will start paying benefits

that must be reduced proportionally to account for any attorney's fees and other such

compensation awards granted by the Court, but which cannot be reduced since the issue of fees

and awards will be unresolved. Once the issue of attorney's fees and other such awards is

resolved weeks or months after January 1, 2012, the Plaintiff Class will owe to Plaintiff and/or

Plaintiffs counsel a portion of those benefits, and Plaintiff and/or Plaintiffs counsel will be

faced with the tasking of collecting a portion of their awards directly from the Plaintiff Class.

Accordingly, Defendants respectfully submit that the most logical and efficient solution for all

parties is to stay implementation of the amendment pending appeal so that the payments

distributed under that amendment will accurately reflect any necessary fee and award-related

deductions.

               4.      The Public Interest Favors Imposition of the Stay Requested by
                       Defendants

               The requested stay should also be granted because public policy favors the

protection of pension plan assets. In Cross, the defendant pension plan argued in support of its

motion for a discretionary stay that "public policy favors protecting pension plan assets." Cross


                                                 15
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 21 of 27




v. Fleet Reserve Ass 'n Pension Plan, Civil No. WDQ-05-0001, 2007 WL 7143977, at *2 (D. Md.

Feb. 27, 2007) (waiving bond requirement where "the bond premium would be an unnecessary

waste of the Plan's assets"); see also Brief of Cross Defendants in Support of Stay, 2007 WL

7115094 (arguing that such protection would "not only save[] the Plan a significant expense, but

permit[] continuing investment of the funds (further strengthening the Plan's ability to pay any

final judgment)[.]". The Cross court agreed that the "public interest" favored a stay. Cross,

2007 WL 7143977, at *2. The same consideration applies here. IfDefendants are required to

amend the Plan and pay increased benefits that are subsequently deemed improper, the

investment value of those benefits during the pendency of the appeal will be lost. But see Bray v.

Fort Dearborn Life Ins. Co., Civil Action No. 3:06-CV-0560-B ECF, 2008 WL 1820594, at *4

(N.D. Tex. Apr. 23, 2008) (holding in ERISA case that the public interest factor was neutral

because "it [wa]s unlikely that the public ha[d] much of an interest in this litigation").

               5.      The Stay Should Not Be Conditioned on the Posting of a Bond

               Courts have discretion to require a bond in connection with a stay under Rule

62(c) "to preserve the status quo pending [the] appeal .... " Int 'I Ass 'n ofMachinists and

Aerospace Workers, AFL-CIO v. E. Air Lines, Inc., 847 F.2d 1014, 1018 (2d Cir. 1998). Here,

no bond is necessary because Hilton is a financially strong, global leader within the hospitality

industry, and because the status quo is preserved by the stay itself.

               Hilton is financially secure and poses no reasonable danger of non-payment to the

Plaintiff Class. Hilton estimates that its annual funding to the Plan will increase as a result of the

Court's orders by approximately $75.8 million in 2012, $1.5 million in 2013 and $5.6 million in

2014. Declaration of Michael W. Duffy, dated November 28, 2011 ("Duffy Decl.") (attached to




                                                  16
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 22 of 27




                Additionally, as discussed supra at Section A.2., absent a stay the status quo

would be destroyed by Defendants' obligation to irreversibly amend the Plan and distribute

unrecoverable increased benefit payments. By contrast, any backloading remedy awarded to

Plan participants and beneficiaries at the conclusion of appeal proceedings will include post-

judgment interest, such that the Plaintiff Class would not be prejudiced by a stay even if

Defendants' appeal were denied in full. Unless the Plaintiff Class can identify non-speculative

9




                                                17
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 23 of 27




injury that it would suffer from the imposition of a stay without a bond, no bond is necessary.

See, e.g., Simon Prop. Group, Inc. v. Taubman Ctrs., Inc., 262 F. Supp. 2d 794, 799 (E.D. Mich.

2003) (holding that no bond was necessary with respect to injunction preventing disruption of

takeover bid because the plaintiffs "assertion that it may incur damages" as a result of delay

with respect to the proposed acquisition was "purely speculative."); Thiry v. Carlson, 891 F.

Supp. 563, 565, 567-68 (D. Kan. 1995) (holding that no bond was necessary with respect to stay

pending appeal of the dissolution of an injunction against construction project because "damages

in the form of increased [construction] costs [we]re ... speculative.").

               To the extent that the Court determines that a bond is necessary, Defendants

respectfully submit that the bond should be no greater than fifty percent of the amount by which

Hilton's funding obligations will increase during the pendency ofthe appeal as a result ofthe

Order. 10 Even assuming that the D.C. Circuit rejects each ofHilton's arguments and the Court's

Order remains completely unchanged, Hilton's increased funding obligation for 2012 as a result

of the Court's Order is estimated to be approximately $7 5.8 million. Duffy Dec I. ~ 5. 11 Given

Hilton's size, financial security, and substantial presence in the District of Columbia, a bond in

the amount of no more than fifty percent of the first year funding obligation due to the Order,

i.e., $37.9 million, is more than adequate to secure the judgment here.


10
       The D.C. Circuit has applied a case-specific inquiry to determine the appropriate amount
       of a bond pending appeal. See Air Line Pilots Ass 'n v. E. Air Lines, Inc., Nos. 88-7201,
       88-7204, 1988 WL 148641, at *1 (D.C. Cir. Sept. 2, 1988) (allowing Rule 62(c) stay
       upon posting of a $4.7 million bond, which would "cover[] one month's liability for pay
       to members of appellee unions furloughed pursuant to appellant's July 22, 1988 program
       of service changes.").
II
       If appeal proceedings continue beyond 2012, Defendants could supplement the bond to
       account for the incremental funding obligations that would arise in subsequent years due
       to the Court's Order. Assuming that Defendants' pending appeal fails in all respects,
       increased funding obligations resulting from the Order are currently estimated to be $1.5
       million for 2013 and $5.6 million for 2014. Duffy Decl. ~ 5.

                                                 18
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 24 of 27




        B.       Alternatively, the Court Should Issue a Stay Pursuant to Fed. R. Civ. P.
                 62(d)

                 "Rule 62(d) provides that a party appealing a money judgment may obtain a stay

pending appeal upon the posting of a supersedeas bond." McCammon, 584 F. Supp. 2d at 197

n.4 (Kollar-Kotelly, J.). Provided that FRCP 62(d) applies and a proper supersedeas bond is

posted, the appealing party is entitled to the stay as a matter of right. See, e.g., Am. Manufs. Ins.

Co. v. Am. Broad.-Paramount Theatres, 87 S. Ct. 1, 3 (1966); Athridge v. Rivas, 236 F.R.D. 6, 7

(D.D.C. 2006).

                 To the extent that the Court determines that no stay is warranted under Rule 62(c),

then the Order must be monetary rather than injunctive such that Defendants are entitled to a stay

as of right. See, e.g., Frommert v. Conkright, 639 F. Supp. 2d 305, 309-11 (W.D.N.Y. 2009).

(granting FRCP 62(d) stay with respect to order "which directed the defendants to recalculate

plaintiffs' retirement benefits, consistent with the terms [of the Order] ... and to pay each

plaintiff a lump sum"); Gesualdi v. Laws Constr. Corp., 759 F. Supp. 2d 432,444, 447-49

(S.D.N.Y. 2011) (holding that FRCP 62(d) applied to a judgment that required the defendants to

pay unpaid pension plan contributions (and interest thereon), attorney's fees and court costs);

Cross, 2007 WL 7143977 at *3 (staying order requiring payment of benefits under pension plan).

               Although Rule 62(d) stays generally require posting of a supersedeas bond, "[ i]n

unusual circumstances ... the district court in its discretion may order partially secured or

unsecured stays if they do not truly endanger the judgment creditor's interest in ultimate

recovery." Fed. Prescription, 636 F .2d at 760-61; see also Athridge v. Iglesias, 464 F. Supp. 2d

19, 24 (D.D.C. 2006) ("In addition to accepting less than a full supersedeas bond to secure a

judgment pending appeal, courts have discretion to approve other forms of security than a

supersedeas bond"); Perles v. Kagy, No. Civ. A. 01-0105(AK), 2005 WL 3262905, at *2 (D.D.C.


                                                 19
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 25 of 27




Aug. 29, 2005) ("Appropriate circumstances for waiver [of the supersedeas bond] include cases

in which the net worth of the judgment [debtor] far exceeds the amount of the judgment").

Because "[t]he purpose ofthe supersedeas bond is to secure the appellee from loss resulting from

the stay of execution," Fed. Prescription, 636 F.2d at 760, waiver or reduction of the bond is

appropriate where "in the absence of standard security, [the non-movant] will be properly

secured against the risk that [the movant] will be less able to satisfy the judgment after

disposition ofthe post-trial motions." Continental Cas. Co. v. First Fin'! Emp. Leasing, 2010

WL 5421337, at *1 (M.D. Fl. Dec. 27, 2010); see also, e.g., Real View v. 20-20 Techs., Inc.,

2011 WL 3568022, at *2 (D. Mass. Aug. 12, 2011).

                D.C. Circuit precedent and case law in other courts supports waiver of the bond

requirement in situations such as this, where there is little risk of default. See, e.g., Fed.

Prescription, 636 F.2d at 760 (affirming district court's finding that no bond was required where

judgment debtor's net worth significantly exceeded judgment amount and debtor was not likely

to leave the district court's jurisdiction); Perles v. Kagy, No. Civ. A. 01-0105(AK), 2005 WL

3262905, at *2 (D.D.C. Aug. 29, 2005) ("Appropriate circumstances for waiver [ofthe Rule

62(d) supersedeas bond] include cases in which the net worth of the judgment [debtor] far

exceeds the amount of the judgment"); Frommert v. Conkright, 639 F. Supp. 2d 305, 313

(W.D.N.Y. 2009) (waiving bond requirement where assets of the defendant ERISA plan far

exceeded the amount of the judgment); Fed. Election Comm 'n v. NRA Political Victory Fund,

Civ. A. No. 90-3090, 1992 WL 19111, at *1 (D.D.C. Jan. 17, 1992) (waiving Rule 62(d)

supersedeas bond requirement where "the defendants [were] financially solvent, and[] there

[was] little risk they [would] fail to pay their penalty, with interest, should they lose their

appeal").



                                                  20
     Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 26 of 27




               For example, in Cross, the District of Maryland court waived the supersedeas

bond requirement as to the defendant pension plan, noting that it was "confident that the

Defendants have sufficient surplus assets to satisfy the judgment, with interest should they fail

on appeal." 2007 WL 7143977, at *4. The Cross court also noted that given the facts of the

case, "the bond premium would be an unnecessary waste of the Plan's assets." !d. As noted

above, as of December 31, 2010, Hilton's audited financial statements reflected assets of




                         Finally, as of January 1, 2011, the actuarial value of the Plan's assets

was approximately $289.8 million. !d.    ~   4. Given Hilton's financial strength and stability and

the substantial amount of Plan assets, the Court should waive the supersedeas bond requirement.

               To the extent that the Court determines that a bond is necessary in connection

with a Rule 62( d) stay, and as discussed in greater detail above, Hilton respectfully submits that

the amount of the bond should be limited to no more than fifty percent of the $75.8 million

increased funding obligation in 2012 due to the Order (id.    at~   5), which is $37.9 million. Again,

this amount is justified based on Hilton's financial strength and stability, along with Hilton's

substantial presence in the District of Columbia. Duffy Decl.       ~~   4-14. Because the available

cash and assets far exceed the amount of the Order that could reasonably be expected to require

payment in the near future, a supersedeas bond greater than that proposed by Defendants would

be "an unnecessary waste ofthe Plan's assets," and should be rejected.




                                                  21
      Case 1:98-cv-01517-CKK Document 316-1 Filed 01/25/12 Page 27 of 27



                                          CONCLUSION

                 In accordance with the foregoing and for the reasons stated therein, Defendants

respectfully request that the Court enter an order staying ( 1) implementation of the Plan

amendment pending resolution of Defendants' appeal to the Circuit Court of Appeals for the

District of Columbia, (2) payments of new benefits to current or newly-vested Plan participants

pending resolution of Defendants' appeal to the Circuit Court of Appeals for the District of

Columbia, and (3) requiring no bond or, in the alternative, a bond in an amount no greater than

$37.9 million.

Dated: November 28,2011




                                              Thomas C. Rice (admitted pro hac vice)
                                              Jonathan K. Youngwood (admitted pro hac vice)
                                              SIMPSON THACHER & BARTLETT LLP
                                              425 Lexington Avenue
                                              New York, NY 10017
                                              (212) 455-2000

                                              Andrew M. Lacy (D.C. Bar #496644)
                                              SIMPSON THACHER & BARTLETT LLP
                                              1155 F St., N.W.
                                              Washington, D.C. 20004
                                              (202) 636-5500
                                              (202) 636-5502

                                              Attorneys for Defendants Hilton Hotels Retirement
                                              Plan, Hilton Hotels Corporation, James M.
                                              Anderson, Matthew J. Hart, Barron Hilton, Dieter
                                              Huckestein, and Sam D. Young, Jr.




                                                22
